Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 1 of 21




                                 EXHIBIT B
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 2 of 21




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


   PATRICIA KENNEDY,

                  Plaintiff,


   v.                                                      Case No: 9:17-cv-80103-RLR


   OMEGA GAS & OIL, LLC,

                          Defendants,

   _________________________________/




         STATEMENT OF CARLOS M. HERRERA PURSUANT TO 28 U.S.C. 1746


                  My name is Carlos M. Herrera. Except as is specifically stated below, or as may

   be obvious from the context, I have personal knowledge of the matters set forth below.

                  1. My professional qualifications for determining ADA compliance matters are set

   out in the resume attached to this statement as Exhibit 1.

                  2. On or March 20, 2017, I performed an ADA compliance inspection of the

   Defendant=s property, service station located at or about Plaza located at or about 1974 Congress

   Avenue, West Palm Beach, Florida, for the purpose of determining whether or not the property

   was in compliance with the requirements of the ADA. I concluded that it was not in compliance

   with the ADA and applicable regulations.

                  3. My report of that inspection documents the ways in which the property did not

   comply with the ADA, and states what needs to be done to bring the property into compliance. A
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 3 of 21




   copy of my report is appended to this Statement as Exhibit 2. The photographs show the specific

   locations of each violation.

                  4. I also prepared an addendum to that report which is based upon photographs

   which I understand show the condition of the property prior to the date on which I am advised

   this lawsuit was filed. The addendum, which is attached to this Statement as Exhibit 3, identifies

   the violations shown in those photographs.

                 6. Without allowing for the preparation of architectural drawings if necessary, and

   unforeseeable contingencies, such as Acts of God, material shortages, delays in permitting, and

   the like, the construction work described in Exhibit 2 can be completed within 3 months.

                  7. I also note that places of public accommodation are obligated to maintain the

   features and equipment required to be readily achievable and adhere to policies, practices, and

   procedures sufficient to ensure that disabled persons have the same access to goods, services,

   facilities, privileges, advantages and accommodations as the non-disabled public and ensure that

   the facility remains compliant.

                  8. Concrete and asphalt tend to crack, crumble and pit due to normal wear and

   tear. Therefore, curb ramps, curb cuts, and the ground surfaces of parking spaces and access

   aisles must be properly maintained. Paint fades quickly due to exposure to the elements and must

   also be maintained. Parking signs may fall down. All of the following must be maintained.

                  9. The evidence of failures to maintain the property are identified in my reports.

   For example, the addendum, based on photographs I understand were taken before this lawsuit

   was filed show equipment and a dumpster encroaching on the handicapped parking space

   (Exhibit 3, items 3 & 4, and photographs 001 and 002). The report shows the handicapped space

   now obstructed by furniture (Exhibit 2, item 12, photo 003). Taken together, the two reports and
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 4 of 21




   photographs demonstrate a continuing failure to maintain the accessible parking space free from

   obstacles.



   Pursuant to 28 U.S.C. 1746, I declare, certify, verify, and state, under penalty of perjury that the

   foregoing is true and correct.



   July 17, 2017
   _________________
                                                                 __________________________
   Date
                                                                 Carlos M. Herrera
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 5 of 21




                                 EXHIBIT 1
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 6 of 21
                                                 Carlos M. Herrera
                                                                  TH
                                                 4979 S.W. 165 AVENUE
                                                MIRAMAR FLORIDA - 33027
                                                    CEL. (305) 336-0007
                                            EMAIL: CHERRERA@SQUARE-FEET.US




  Summary
  Solution-focused, self-motivated civil engineer with experience in preparing construction documents for residential
  projects in different local building departments, as well as other processes such as permits, licensing, change of use,
  variance application, state historic designation, state accessibility waivers, RFQ/RFP preparation for bids, etc. Initiative
  and adaptable proficient professional with a positive attitude toward learning and professional growth and a huge sense
  of commitment to every project involved in, working effectively, either in a group environment or independently. Also
  extensive experience in performing plan review for commercial projects code compliance –specializing in accessibility-
  in different states and managing client’s national plan review projects. Excellent client care and project management
  abilities. Proficient in Internet and Codes research, AutoCAD 2008, Outlook and Microsoft Office.



  Design and Technical Skills

          Planning, developing and executing of operational projects
          Analysis report capacity in order to make decisions for improvement plans
          Budget preparation and coordination
          Analysis of the financial statements and investment projects
          Negotiation techniques

  Organizational/Team Building Skills

          Being able to meet deadlines
          Developed multiple projects in a group environment and independently
          Working in a multicultural environment
          Working under pressure
          Auto motivated.
          Excellent interpersonal relationships
          Leadership
          Process improvement passion


  Strengths

          Excellent Communication Skills
          Project Management
          Team Leadership
          Problem Resolution Abilities
          Excellent Attention to Detail and Product Quality
          Fluent In English and Spanish




                      Carlos M. Herrera * Cell: 305-336-0007 * E-mail:cherrera@square-feet.us
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 7 of 21




  Professional Experience

  SQUARE FEET CONTRACTORS                                                                      2006 - PRESENT
  Principal

  ADA Specialized Services
  Square Feet Contractors provides our clients with ADA construction services. We are with our clients from the initial
  construction survey through final inspection, up to the last step of making sure the work is completed correctly. We are
  dedicated to making the process stress free, cost-effective and as expedient as possible.
  Other Contractors simply provide clients with construction services. This is not the case with Square Feet Contractors.
  We have 10 years of experience in the ADA field. If the client has already started the ADA compliance process, Square
  feet Contractors will be happy to help them through the remainder of the process.

  Our in-house services include:

  ADA alterations, renovations, and barrier removal Project Management
  ADA construction Cost Estimating and Specifications
  ADA construction Building Inspections and Certifications
  ADA alterations, renovations, and barrier removal General Contracting


  ADAAG CONSULTING SERVICES LLC, FL                                                                    2003-2013
  Design and Code Consultant Level III

  Objective: To perform Accessibility Consulting, Detailed Facility Surveys, ADA Compliance Evaluation,
  Implementation Plan Development, ADA Corporate Policy Guidance and Interpretation, ADA Expert Witness Service,
  ADA Compliance Plan Review for Architects, Engineers and Building Department, Building Code Enforcement,
  Compliance with Municipal, State and/or Federal Accessibility/ Building Codes and Statutes, Uniform Federal
  Accessibility Standards (UFAS) Title II Guide Lines and Fair Housing Act (FHA) Compliance Evaluations, Seminars
  and Workshops, ADA Title II Transition Plan for State and Local Governments Evaluation, Seminar and Workshop,
  Florida Building Commission Vertical Accessibility Waiver, ADA Construction Cost Estimates, Project Management
  and ADA Architectural Design

  Responsible for the company’s design projects throughout design, permitting, construction and contractor supervision.
  Expert technical code and design consulting services for business franchises and small businesses as well as for public
  institutions. Provide code compliance plan review and drafting services; manage plan review, and facilities inspection
  services.


       Study clients design needs; develop design concept and coordinate production of construction documents for
        building department submission. Meet with all trade contractors, review bids, and assign project construction.
        Manage site work, plans revisions and inspections.
       Prepare applications for code variances, license renewals, building’s change of use, accessibility, Fair Housing,
        UFAS compliance. Develop and present accessibility waivers to the Florida Building Commission. Work as a team
        to prepare RFQ and RFP bids to cities and counties nationwide. Provide consulting nationally for city and county
        contracts.
       Train and mentor growing staff in both consulting services and field work.
     Develop codes databases and research logs as key resources for staff. Structure company’s resource library to
        accommodate new incoming material and create a more user-friendly and practical use of resources.


  OMANCA GROUP, LLC, FL                                                                                2006-2008
  Project Manager


                     Carlos M. Herrera * Cel: 305-336-0007 * E-mail: cherrera@square-feet.us
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 8 of 21


  Monitoring the work of architects and contractors, Monitoring the design and construction, Time management of the
  projects, Selection of contractors and personnel, Construction management, Quality control, Field inspector, Budget
  preparation and control.

  GOVERNMENT OF THE DEPARTEMENT OF SANTANDER, BUCARAMANGA, COLOMBIA 2001
  Civil Engineer – Water & Sewer Department

  Planning, design, inspection, and improvements for aqueduct and sanitary installations. Flooding Inspection and damage
  calculations. Budget preparation and coordination.
  .


  EDUCATION
  Bachelor Degree in Civil Engineering (January 1996 – December 2000)
  Universidad Pontificia Bolivariana, Colombia


  CERTIFICATIONS
  Certified General Contractor (2008)
  State of Florida Department of Business and Professional Regulations (DBPR)

  Certified Accessibility Inspector/Plans Examiner (2003)
  International Conference of Building Officials (ICBO)

  Certified Building Inspector and Plans Examiner (2003)
  Southern Building Code Congress International (SBCCI)

  Certified Building Inspector / Plans Examiner (2003)
  Building Officials Code Administrators (BOCA)

  Certified Accessibility Inspector/Plans Examiner (2003)
  International Code Council (ICC)


  REFERENCES
  Eric Contreras
  ADA Chief Consultant
  Tel: 305-285-7373 Ext 326

  Charles Duke Ferguson, Esq.
  De la O, Marko, Magolnick & Leyton
  Tel: 305-285-2000




                     Carlos M. Herrera * Cel: 305-336-0007 * E-mail: cherrera@square-feet.us
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 9 of 21




                                 EXHIBIT 2
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 10 of 21




                                  Square feet contractors inc.
                                  General Contractor Services / ADA Specialist




                   ACCESSIBILITY INSPECTION REPORT




                                Chevron Gas Station
                       1974 S. Congress Avenue, West Palm Beach FL

                                    Date: March 20th, 2017




       Best Regards,




       Carlos M. Herrera
       CEO - Principal
       SQUARE FEET CONTRACTORS, INC
       Lic. CGC1515566
       Certified Accessibility Inspector No. 5218742-21




             Square Feet Contractor, Inc. | 4979 SW 165th Avenue | Miramar, FL 33027
                            T. (305) 336 – 0007 | www.square-feet.us
                           General Contractor Services | ADA Specialist
                                Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 11 of 21
        Facility : Chevron Gas Station                                                                                                                                          Report No. CHADA002-032017

                                                                                                     GENERAL NOTES
  1    Public accommodations and commercial facilities must follow the requirements of the 2010 standards, including both the Title III regulations at 28 CFR part 36, subpart D; and the 2004 ADAAG at 36 CFR part
       1191, appendices B and D, and the 2012 Florida Accessibility Code for Building Construction.
  2    Public accommodations and commercial facilities must remove architectural barriers to elements subject to the 2010 ADA Standards when it is readily achievable. Elements in existing facilities built or altered in
       compliance with the 1991 ADA Standards do not need any further modifications.
  3    Alterations to public accommodations or commercial facilities shall be made to ensure that to the maximum extent feasible, altered portions of the facility are readily accessible to persons with disabilities. If the
       facility chooses to alter elements compliant with 1991 ADA Standards, it is necessary to meet the 2010 ADA standards to the maximum extent feasible.
  5    Signage indicating accessible parking shall display the international symbol of accessibility and be mounted at 60" (1525) min. above the ground floor to the characters and symbols.
  6    All accessible routes shall be stable, firm and slip resistant, and have a cross slope not exceeding 2%.
  7    Wall mounted protruding objects mounted between 27"- 80" (685 mm -2032 mm) shall not project more than 4" (101 mm) from back wall to outer leading edge (ADA Fig. 307.2).
  8    Except as noted, handrails shall be mounted on both sides of ramp between 34" - 38" (863 mm - 965 mm) above the finished floor to top of gripping surfaces. Handrails shall extend 12" (304 mm) min. beyond
       the top and bottom of the ramp segment and have a gripping surface of 1.25" to 2" (32 mm to 50 mm) with a space between the wall and the handrail of 1.5" (38 mm) (2010 ADA Fig. 405.9.1-2).

  9    All doors that are part of an accessible route shall comply with 404, if doors provide user passage they shall comply with 404.2.3 providing a minimum clear opening of 32" (815 mm) with the door opened 90
       degrees, measured between the face of the door and the opposite stop (2010 ADA Fig. 404.2.3).
 10    All doors that are part of an accessible route shall have door hardware not requiring pinching, tight grasping or turning of the wrist to operate.
 11    All doors that are part of an accessible route shall have door thresholds shall provide a 0.5" (12 mm) max. change of level, beveled with a slope no greater than 1:2 (2010 ADA Fig. 303.2).
 12    Except as noted, tactile characters on interior signage shall be located at 48" (1370 mm) min. above the floor measured to the baseline of the lowest tactile character and 60" (1675 mm) max. above the finished
       floor measured from the baseline of the highest tactile character (2010 ADA Fig. 703.4.1).
 13    All accessible bathrooms shall provide the required clear 60" (1524 mm) min. diameter wheelchair turnaround space or T-shaped space (2010 ADA Fig. 304.3.2).
 14    Except as noted, all GRAB BARS shall have 1.25" - 1.5" (32 mm - 38 mm) diameter and be mounted at 33"- 36" (838 mm - 914 mm) above the finished floor to the top of gripping surfaces.
 15    All accessible elements including, but not limited to storage, shelves, clothes rods, clothes drying line, switches, outlets, thermostats, and fire extinguishers shall be mounted within reach ranges at 48" (1220 mm)
       max. above the finished floor for forward or side approach to object (2010 ADA Fig. 308.2.1-2). Shelves shall be mounted at 40" (1015 mm) min. above the finished floor.
 16    In existing facilities visible alarms shall not be required except where an existing fire alarm is upgraded or replaced or a new fire alarm system is installed.
 17    It is important to note that items such as partitions, stalls, door latches, commodes, grab bars, faucet and door hardware, coat hooks, and amenities such as toilet paper and paper towel dispensers, soap
       dispensers, tend to break down due to normal wear and tear and are subject to change frequently due to regular maintenance, remodeling, and repairs. Moreover, over the course of time, handicap parking signs
       tend to fall down, tire stops tend to become dislodged, paint fades and concrete and asphalt tends to crumble, break down, chip and crack. It is therefore necessary to implement and adhere to a policy and
       procedure whereby all accessible features are properly maintained and kept in proper location and working order and free of obstructions.



                                                                      Item                                                  2010 ADA
Line     Building           Address           Fl.      Location                           Issue                 ADAAG                       Proposed Correction             Photo           Comments                   Cost
                                                                       No.                                                    Code
001    Chevron Gas     1974 S. Congress 1st          Accessible       001    Access aisle is not outlined in    FBC§11- FAC§502.3. Provide an accessible parking             012                                     $600.00
       Station         Avenue, West                  Parking Space           white and blue as per local law    4.6     3          space 144" (3.65 m) wide, 18 ft
                       Palm Beach, FL                                        regulation.                                           (5.48 m) long, with a 60" (1525
                                                                                                                                   mm) min. wide access aisle
                                                                                                                                   and re-stripe or outline in blue
                                                                                                                                   (FBC Fig. 9, FDOT Index #
                                                                                                                                   17346).
                                                                      002    Accessible parking space has a FBC§11- FAC§502.6.           Florida accessible signs must       012                                     $150.00
                                                                             non-compliant signage            4.6   1                    indicate the penalty for illegal
                                                                             indicating accessible parking as                            parking space in addition to the
                                                                             per local law regulations.                                  accessible parking symbol
                                                                                                                                         required by the ADA.




       Page 1 of 3
                            Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 12 of 21
       Facility : Chevron Gas Station                                                                                                                         Report No. CHADA002-032017

                                                          Item                                               2010 ADA
Line     Building       Address         Fl.    Location                       Issue                ADAAG                   Proposed Correction             Photo          Comments              Cost
                                                           No.                                                 Code
                                                          003    Furniture encroaching over the §4.6.3       §502.4     Remove furniture to provide an      012    Maintenance                  $0.00
                                                                 access aisle and the accessible                        accessible parking space 144"
                                                                 parking space. Failing to                              (3.65 m) wide, 18 ft (5.48 m)
                                                                 maintain the accessible parking                        long, with a 60" (1525 mm) min.
                                                                 space free of obstacles.                               wide access aisle (FBC Fig. 9,
                                                                                                                        FDOT Index # 17346).

002    Chevron Gas   1974 S. Congress 1st     Unisex      004    Permanent room identifying     §4.30.6      §703.4.1   Provide signage on latch side       013                                 $25.00
       Station       Avenue, West             Restroom           signage is mounted on the door                         with raised characters and
                     Palm Beach, FL                              leaf.                                                  grade 2 Braille, mounted at 48
                                                                                                                        inches min. measured from the
                                                                                                                        baseline of the lowest tactile
                                                                                                                        character and 60 inches max.
                                                                                                                        from the baseline of the highest
                                                                                                                        tactile character (2010 ADA
                                                                                                                        Fig. 703.4.1).


                                                          005    Maneuvering clearance on the      §4.13.6   §404.2.4   Rework door side partition to       008                                $900.00
                                                                 push side of the door is 6.25".                        provide the required 12" (304       009
                                                                                                                        mm) min. maneuvering                010
                                                                                                                        clearance on the push side of
                                                                                                                        the door handle side beyond
                                                                                                                        the latch and 48" (1219 mm)
                                                                                                                        min. deep clear floor area (For
                                                                                                                        doors with latch and closer)
                                                                                                                        (2010 ADA Fig. 404.2.4.1).



                                                          006    Water closet flush control is     §4.16.5   §604.6     Relocate water closet flush         001    Cost included in item No.    $0.00
                                                                 mounted on top of the water                            control toward the open side or     002    007.
                                                                 tank.                                                  install an electronically
                                                                                                                        controlled mechanism.
                                                          007    Water closet is centered at       §4.16.2   §604.2     Relocate water closet and           003                                $900.00
                                                                 19.25" from side wall.                                 center between 16" and 18"
                                                                                                                        (406 mm - 457 mm) from side
                                                                                                                        wall ( 2010 ADA Fig. 604.2).
                                                          008    Clear floor space does not     §4.2.3       §304.3     Reconfigure room’s fixtures         006                                $4,650.00
                                                                 provide the required diameter                          and/or offset partitions to         007
                                                                 wheelchair turnaround space in                         provide the required clear 60"
                                                                 room.                                                  (1524 mm) min. diameter
                                                                                                                        wheelchair turnaround space or
                                                                                                                        a T-shaped space (2010 ADA
                                                                                                                        Fig. 304.3.2).




       Page 2 of 3
                        Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 13 of 21
       Facility : Chevron Gas Station                                                                                                                Report No. CHADA002-032017

                                                   Item                                                2010 ADA
Line     Building    Address      Fl.   Location                       Issue                ADAAG                    Proposed Correction          Photo        Comments             Cost
                                                    No.                                                  Code
                                                   009    Hand dryer is mounted beyond      §4.2.5     §308.2.1   Lower or install at 48" (1219    004                             $150.00
                                                          required reach allowed for                              mm) max. above the finished
                                                          approach provided and is                                floor for forward approach to
                                                          mounted at 53.25" above the                             object (2010 ADA Fig.
                                                          finished floor.                                         308.2.1).


                                                   010    Lavatory is mounted at 35"         §4.19.2   §606.3     Relocate lavatory at 34" (863    005                             $450.00
                                                          above the finished floor to top of                      mm) max. above the finished
                                                          rim.                                                    floor to front end of rim or
                                                                                                                  counter.
                                                                                                                                                            Subtotal                $7,825.00
                                                                                                                                                     Overhead and Profit 10%   $      782.50
                                                                                                                                                            A/E 10%            $      782.50
                                                                                                                                                              Total                 $9,390.00




       Page 3 of 3
                             Photo
Case 9:17-cv-80103-RLR Document 39-2 Reference
                                     Entered on FLSD Docket 07/24/2017 Page 14 of 21




   001                                  002                                   003




   004                                  005                                   006




   007                                  008                                   009
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 15 of 21




    010                                    012                                 013
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 16 of 21




                                  EXHIBIT 3
                             Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 17 of 21
       Facility : Chevron Gas Station                                                                                                                                 Report No. CHADA002-032017
                                                                                                         NOTE
  1    The following report is based on photographs and measurements provided by the Plaintiff at the time of their visit.

                                                                Item                                                2010 ADA
Line     Building         Address         Fl.     Location                          Issue                 ADAAG                    Proposed Correction             Photo         Comments     Cost
                                                                 No.                                                  Code
001    Chevron Gas    1974 S. Congress 1st      Accessible      001    Access aisle is not outlined in    FBC§11- FAC§502.3. Provide an accessible parking          002                      $600.00
       Station        Avenue, West              Parking Space          white and blue as per local law    4.6     3          space 144" (3.65 m) wide, 18 ft
                      Palm Beach, FL                                   regulation.                                           (5.48 m) long, with a 60" (1525
                                                                                                                             mm) min. wide access aisle
                                                                                                                             and re-stripe or outline in blue
                                                                                                                             (FBC Fig. 9, FDOT Index #
                                                                                                                             17346).
                                                                002    Accessible parking space has a FBC§11- FAC§502.6.        Florida accessible signs must       001                      $150.00
                                                                       non-compliant signage            4.6   1                 indicate the penalty for illegal
                                                                       indicating accessible parking as                         parking space in addition to the
                                                                       per local law regulations.                               accessible parking symbol
                                                                                                                                required by the ADA.



                                                                003    Equipment is encroaching over §4.6.3         §502.4      Remove encroaching item and         002    Maintenance        $0.00
                                                                       the accessible parking space.                            maintain free of such
                                                                       Resulting from a failure to                              obstruction(s) to provide an
                                                                       maintain the accessible parking                          accessible parking space 144"
                                                                       space free of obstacles.                                 (3.65 m) wide, 18 ft (5.48 m)
                                                                                                                                long, with a 60" (1525 mm) min.
                                                                                                                                wide access aisle (FBC Fig. 9,
                                                                                                                                FDOT Index # 17346).
                                                                004    Dumpster is encroaching over §4.6.3          §502.4      Remove encroaching item             002    Maintenance        $0.00
                                                                       the access aisle and the                                 maintain free of such
                                                                       accessible parking space.                                obstruction(s) to provide an
                                                                       Resulting from a failure to                              accessible parking space 144"
                                                                       maintain the accessible parking                          (3.65 m) wide, 18 ft (5.48 m)
                                                                       space free of obstacles.                                 long, with a 60" (1525 mm) min.
                                                                                                                                wide access aisle (FBC Fig. 9,
                                                                                                                                FDOT Index # 17346).


002    Chevron Gas    1974 S. Congress 1st      Main Entrance   005    Floor mat is not firmly attached   §302.1    §302.1      Provide a securely attached         006                       $50.00
       Station        Avenue, West                                     to the floor.                                            carpet with a leveled loop or
                      Palm Beach, FL                                                                                            level cut pile, with texture
                                                                                                                                height that is 0.5" (13 mm)
                                                                                                                                max. and has a firm cushion
                                                                                                                                pad or backing (2010 ADA Fig.
                                                                                                                                302.2).




       Page 1 of 3
                            Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 18 of 21
       Facility : Chevron Gas Station                                                                                                                        Report No. CHADA002-032017

                                                          Item                                              2010 ADA
Line     Building       Address         Fl.    Location                       Issue               ADAAG                   Proposed Correction             Photo     Comments         Cost
                                                           No.                                                Code
003    Chevron Gas   1974 S. Congress 1st     Unisex      006    Water closet has a 36" long side §4.16.4   §604.5.1   Install a 42" (1066 mm) min.        003                      $150.00
       Station       Avenue, West             Restroom           wall grab bar.                                        long side wall grab bar at 54"      016
                     Palm Beach, FL                                                                                    (1371 mm) min. perpendicular
                                                                                                                       from rear wall to centerline of
                                                                                                                       outer flange and mount at 33"-
                                                                                                                       36" (838 mm - 914 mm) above
                                                                                                                       the finished floor to the top of
                                                                                                                       the gripping surface (ADAAG
                                                                                                                       Fig. 604.5.1)


                                                          007    Non-compliant knob-type door    §4.13.9    §404.2.7   Replace or retrofit with system     007                      $125.00
                                                                 hardware, requiring grasping                          operable with one hand, not
                                                                 and turning of the wrist to                           requiring pinching, tight
                                                                 operate.                                              grasping or turning of the wrist
                                                                                                                       to operate.




                                                          008    Water closet flush control is   §4.16.5    §604.6     Rotate water closet flush           005                      $600.00
                                                                 toward the wall side.                                 control toward the open side or
                                                                                                                       install an electronically
                                                                                                                       controlled mechanism.
                                                          009    Hand dryer is mounted beyond    §4.2.5     §308.2.1   Lower or install at 48" (1219       004                      $150.00
                                                                 required reach allowed for                            mm) max. above the finished
                                                                 approach provided and is                              floor for forward approach to
                                                                 mounted at 53.75" above the                           object (2010 ADA Fig.
                                                                 finished floor.                                       308.2.1).


                                                          010    Lavatory knob-type faucet       §4.19.5    §606.4     Replace or retrofit lavatory        008                      $125.00
                                                                 requires pinching and tight                           controls with paddle-
                                                                 grasping to operate.                                  operated, push-type or
                                                                                                                       electronically-controlled
                                                                                                                       mechanism.
                                                          011    Water closet does not have a    §4.16.4    §604.5.2   Install a 36" (914 mm) min.         009                      $150.00
                                                                 rear wall grab bar.                                   long rear wall grab bar and
                                                                                                                       mount between 33" and 36"
                                                                                                                       (838 mm - 914 mm) above the
                                                                                                                       finished floor to the top of the
                                                                                                                       gripping surface (2010 ADA
                                                                                                                       Fig. 604.5.2).




       Page 2 of 3
                        Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 19 of 21
       Facility : Chevron Gas Station                                                                                                                   Report No. CHADA002-032017

                                                   Item                                                2010 ADA
Line     Building    Address      Fl.   Location                       Issue                 ADAAG                   Proposed Correction             Photo         Comments            Cost
                                                    No.                                                  Code
                                                   012    Floor mat is not firmly attached   §302.1    §302.1     Provide a securely attached         010                             $50.00
                                                          to the floor.                                           carpet with a leveled loop or
                                                                                                                  level cut pile, with texture
                                                                                                                  height that is 0.5" (13 mm)
                                                                                                                  max. and has a firm cushion
                                                                                                                  pad or backing (2010 ADA Fig.
                                                                                                                  302.2).
                                                   013    Lavatory does not provide the      §4.19.2   §606.2.2   Rework lavatory to provide the      011                             $600.00
                                                          required knee clearance.                                required 27" (685 mm) min.          015
                                                                                                                  knee clearance above the
                                                                                                                  finished floor to bottom leading
                                                                                                                  edge of fixture at an 8" (203
                                                                                                                  mm) min. horizontal projection
                                                                                                                  (2010 ADA Fig. 306.3).


                                                   014    Trash bin encroaches over the      §4.2.4    §305.3     Relocate encroaching item and       011    Maintenance               $0.00
                                                          hand dryer clear floor space.                           maintain free of such
                                                          Resulting from a failure to                             obstruction(s) to provide a 30"
                                                          maintain the accessible clear                           by 48" (762 mm by 1219 mm)
                                                          floor space.                                            min. wheelchair clear floor
                                                                                                                  space (ADAAG Figs. 305.3-
                                                                                                                  305.5).
                                                   015    Mop bucket encroaches over        §4.2.4     §305.3     Relocate encroaching item and       012    Maintenance               $0.00
                                                          the hand dryer clear floor space.                       maintain free of such
                                                          Resulting from a failure to                             obstruction(s) to provide a 30"
                                                          maintain the accessible clear                           by 48" (762 mm by 1219 mm)
                                                          floor space.                                            min. wheelchair clear floor
                                                                                                                  space (ADAAG Figs. 305.3-
                                                                                                                  305.5).
                                                   016    Paper towel dispenser is      §4.2.5         §308.2.1   Lower or install paper towel        014                             $50.00
                                                          mounted beyond required reach                           dispenser at 48" (1219 mm)
                                                          allowed for approach provided                           max. above the finished floor to
                                                          and is mounted at 66" above                             highest operable part for
                                                          the finished floor.                                     forward approach to object
                                                                                                                  (2010 ADA Fig. 308.3.1).
                                                                                                                                                                Subtotal               $2,800.00
                                                                                                                                                        Overhead and Profit 10%   $      280.00
                                                                                                                                                                A/E 10%           $      280.00
                                                                                                                                                                 Total                 $3,360.00




       Page 3 of 3
Case 9:17-cv-80103-RLR DocumentPlaintiff Photo
                                39-2 Entered    Reference
                                             on FLSD Docket 07/24/2017 Page 20 of 21




          001                                  002                            003




   004                                  005                                   006




   007                                  008                                   009
Case 9:17-cv-80103-RLR Document 39-2 Entered on FLSD Docket 07/24/2017 Page 21 of 21




   010                                  011                                  012




   013                           014                                   015




   016
